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Castle Shield Holdings, LLC

                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY


 In Re:
                                                Chapter 11
 Log Storm Security, Inc.,
                                                Case No. 20-12043 (MBK)
                             Debtor.


                                                Re: Docket No.




                       ORDER GRANTING CASTLE SHIELD HOLDING LLC’S
                        OMNIBUS OBJECTION TO UNSUPPORTED CLAIMS


The relief set forth on the following pages two (2) through three (3) is hereby ORDERED:




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           Claims



Upon the omnibus objection (the “Objection”)1 of Castle Shield Holdings, LLC seeking entry

of an order, pursuant to sections 105(a) and 502 of the Bankruptcy Code, Bankruptcy Rule

3007, and Local Rules 3007-1 and 3007-2, disallowing and expunging the claims set forth on

Exhibit A hereto (the “Disputed Claims”) for the reasons set forth in the Objection; and the

Court having jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334; and

venue being proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and consideration

of the Objection being a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that

proper and adequate notice of the Objection has been given and that no other or further notice

is necessary; and upon the record herein; and the Court having determined that the relief

sought by the Objection is in the best interests of the Debtor, its estate, and creditors; and after

due deliberation and good and sufficient cause appearing therefor;

IT IS HEREBY ORDERED THAT:

            1.         The Objection is GRANTED as set forth herein.

            2.         The Disputed Claims listed on Exhibit A attached to this Order are hereby

disallowed and expunged.

            3.         Castle Shield is authorized to take any and all actions that are necessary or




1
    Capitalized terms herein in shall have the same meaning as ascribed in the Objection, unless otherwise noted.

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appropriate to give effect to this Order

         4.       The objection to each claim and / or scheduled amount addressed in the

Objection and as set forth on Exhibit A attached hereto constitutes a separate contested matter as

contemplated by Bankruptcy Rule 9014. This Order shall be deemed a separate order with

respect to each Disputed Claim that is the subject of the Objection and this Order. Any stay of

this Order pending appeal relating to any Disputed Claim subject to this Order shall only apply to

the contested matter that involves such Disputed Claim and shall not stay the applicability and/or

finality of this Order with respect to any other contested matters addressed in the Objection and

this Order.

         5.       The requirement set forth in Local Rule 9013-1(a)(3) that any motion or other

request for relief be accompanied by a memorandum of law is hereby deemed satisfied by the

contents of the Objection or is otherwise waived.

         6.       Notwithstanding the applicability of any of the Bankruptcy Rules or

Rules, the terms and conditions of this Order shall be immediately effective and enforceable

upon its entry.

         7.       This Court shall retain exclusive jurisdiction to hear and decide any and all

disputes related to or arising from this Order.




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                            EXHIBIT A




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                            Log Storm Security, Inc.
                                 Schedule “A”
                            Omnibus Claim Objection

 Name                   Claim / Scheduled   Asserted/Scheduled
                        Amount to Be             Amount
                        Disallowed and
                        Expunged
 Sutez Ltd Penny        Schedule 3.54       $107,915.87
 Farthing Alcester
 Road
 Wootton Wawen, B9
 6BQ
 United Kingdom


 Nirav Timbadia         Schedule 2.21       $97,500
 7719 Amberdale Ln.
 Frisco, TX 75034
 Polova Services Inc.   Schedule 2.8        $85,000
 14 Emerald Lane
 Old Bridge, NJ 08857
 Denae Dalia            Schedule 2.10       $62,500
 14 Emerald Lane
 Old Bridge, NJ 08857
 Denae Dalia            Schedule 3.19       $34.29
 14 Emerald Lane
 Old Bridge, NJ 08857
 Dale Cline             Schedule 2.7        $62,750
 41 Lake Ridge Rd
 Bolton Landing, NY
 12814
 Jennifer Billiu        Schedule 2.16       $7,500
 8 Old Park Road
 Tuxedo Park, NY
 10987


 Andrew C. Gleason      Schedule 2.2        $41,662.50
 353 Tavistock Drive
 Medford, NJ 08055
 Andrew C. Gleason      Schedule 3.1        $260.14
 353 Tavistock Drive
 Medford, NJ 08055


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